                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                    Plaintiff,


         v.                                                                      Case No. 05-CR-11

LAWRENCE T. TURNER,

                                    Defendant.


                                        DECISION AND ORDER


                  This matter is before the Court on the pro se motion of the Defendant,

Lawrence T. Turner (“Turner”), for production of the transcripts of his December 10, 2004,

initial appearance and his March 10, 2005, change of plea hearing. He states these materials

will support his § 2255 motion.1

                  The 12-page transcript of the change of plea hearing is in the Court file. While

Turner states that the transcript is sealed, the Court’s docket indicates that it is not under seal.

The Clerk of Court charges $.50 per page for copies of any document maintained in the Court

files. Turner may obtain a copy of the transcript of the March 10, 2005, change of plea

hearing by paying $6.00 to the Clerk of Court and stating that he would like a copy of that

transcript.



         1
           Turner filed a § 2255 motion to vacate, set aside, or correct sentence on September 19, 2008. See United
States v. Turner, Case No. 08-C-795 (E.D. W is.)

    Case 2:05-cr-00011-PP               Filed 09/23/08         Page 1 of 3         Document 198
               Turner’s December 10, 2004, initial appearance was taped but no transcript was

prepared. The Clerk of Court’s Office has estimated that the transcript of that hearing will be

between eight and ten pages in length, and will cost between $29.50 and $36.50 to prepare.

To obtain that transcript, Turner should pay $36.50 to the Clerk of Court indicating that it is

payment for the preparation of the transcript of that hearing. If the actual fee for the transcript

preparation is less than $36.50, the Clerk of Court will refund any overpayment to Turner.

               If Turner is unable to pay the costs of obtaining the transcript(s), he may

complete and file a Petition and Affidavit to Proceed without Prepayment of Fees and/or

Costs.   A copy of that form is enclosed with Turner’s copy of this Decision and Order.

Turner must also file a certified copy of his prison trust account showing transactions for the

six-month period immediately preceding the filing of his motion, and a statement explaining

why the transcript(s) are necessary for his § 2255 motion.

               NOW, THEREFORE, BASED ON THE FOREGOING, IT IS

HEREBY ORDERED THAT:

               To obtain the transcript(s) of his December 10, 2004, initial appearance and his

March 10, 2005, change of plea hearing, Turner may remit the required fee(s) by check

payable to the Clerk of Court.




                                               2
   Case 2:05-cr-00011-PP         Filed 09/23/08 Page 2 of 3         Document 198
              If Turner is unable to pay the costs of obtaining the transcript(s), he must

complete and file a Petition and Affidavit to Proceed without Prepayment of Fees and/or

Costs, a certified copy of his prison trust account showing transactions for the six-month

period immediately preceding the filing of his motion, and a statement explaining why the

transcript(s) are necessary to support his § 2255 motion.

              Dated at Milwaukee, Wisconsin this 23rd day of September, 2008.

                                          BY THE COURT




                                          s/ Rudolph T. Randa
                                          Hon. Rudolph T. Randa
                                          Chief Judge




                                             3
   Case 2:05-cr-00011-PP       Filed 09/23/08 Page 3 of 3     Document 198
